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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

IN THE MATTER OF                              )
MOVING JUDGE KOPF’S                           )   MEMORANDUM AND ORDER
REMAINING OMAHA                               )
CIVIL AND CRIMINAL CASES                      )
TO LINCOLN FOR                                )
HEARING OR TRIAL.                             )


        I am no longer receiving criminal or civil cases from the “Omaha” docket. As a
result, it is not efficient for me to continue to travel to Omaha and to block off time to try
cases in Omaha or to conduct criminal sentencings and related hearings in Omaha. Thus, I
shall no longer do so. Rather, all unresolved “Omaha” docket cases assigned to me will be
tried or otherwise disposed of in Lincoln.

       In particular, all pending civil and criminal matters assigned to me from the “Omaha”
docket will be moved for hearing or trial from Omaha, Nebraska to Courtroom Number One
in Lincoln, Nebraska.1 Thus,

       IT IS ORDERED that:

      1. Omaha Criminal Cases Moved to Lincoln and Related Trial and Hearing
Information:

Date          Time          Matter

1/9/2006      9:00 a.m.     trial in USA v. Ricky T. McCollum, 8:05CR256, jury/ 2 days

1/13/2006     9:00 a.m.     evidentiary hearing & sentencing in USA v. Benjamin
                            Rodriguez, 8:05CR258

1/13/2006     9:30 a.m.     sentencing in USA v. Kimberly J. Snyder, 8:05CR86

1/13/2006     10:00 a.m.    sentencing in USA v. Hector Javier Garcia-Mendez, 8:05CR273

       1
       Despite the fact that cases have been moved to Lincoln, the same dates and times as
previously scheduled have been maintained.
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Date        Time         Matter

1/13/2006   10:30 a.m.   sentencing in USA v. Eric Jordan, 8:05CR213

1/13/2006   11:00 a.m.   sentencing in USA v. Franklin Delano Jenkins, 8:04CR209

1/13/2006   11:30 a.m.   Rule 35 hearing in USA v. Eric English, 8:03CR86

3/10/2006   9:00 a.m.    sentencing in USA v. April Picard, 8:05CR213

3/10/2006   10:00 a.m.   sentencing in USA v. Tauvaa A. Williams, 8:05CR335

3/10/2006   3:00 p.m.    evidentiary hearing & sentencing in USA v. James McCart,
                         8:04CR81

       2.   Omaha Civil Cases Moved to Lincoln and Related Trial Information:

Date        Time         Matter

1/9/2006    9:00 a.m.    nonjury trial in John W. Carroll v. Allied Construction Services,
                         8:04CV344, jury/ 3 days

3/6/2006    9:00 a.m.    trial in Gloria A. Ferris v. First National of Nebraska,
                         4:04CV3286, jury/ 3 days

3/6/2006    9:00 a.m.    trial in Caroline Nero v. Omaha Housing Authority, 8:05CV86,
                         jury/ 2 days

3/6/2006    9:00 a.m.    trial in Brian Fuoss v. Roger Houston, et al., 8:05CV29, jury/ 4
                         days

4/17/2006   9:00 a.m.    trial in Francis & Beverly Seid, et al. v. James Reeves, et al.,
                         8:05CV207, jury/ 5 days

4/17/2006   9:00 a.m.    trial in Devon Distributing v. Dave Hausman, et al., 8:05CV51,
                         jury/ 9 days

4/17/2006   9:00 a.m.    nonjury trial in Baum Hydraulics Corp. v. USA, 8:04CV256,
                         jury/ 2 days



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Date        Time        Matter

5/8/2006    9:00 a.m.   trial in April Carrico, et al. v. McDonald's of Cornhusker-
                        Bellevue, 8:05CV65, jury/ 4 days

5/8/2006    9:00 a.m.   trial in Bernard Ray v. Tyson Fresh Meats, 8:05CV113, jury/ 5
                        days

5/8/2006    9:00 a.m.   nonjury trial in USA v. Twenty-One Firearms, etc., 8:05CV20,
                        1 day

6/19/2006   9:00 a.m.   trial in Benson v. Ford, 8:05CV54

6/19/2006   9:00 a.m.   trial in Harland J. Rohrberg v. Zimmer, Inc., 8:05CV77, jury/ 5
                        days

6/19/2006   9:00 a.m.   trial in Lisa C. Tyler v. Trauner, Cohen & Thomas, LLP,
                        8:05CV203, jury/ 3 days

6/19/2006   9:00 a.m.   trial in Catherine Brooks v. Lincoln Ntl. Life Ins., et al.,
                        8:05CV118, jury/ 5 days

7/10/2006   9:00 a.m.   trial in Jack J. Nelson v. Timothy Dunning, et al., 8:04CV596,
                        jury/ 10 days

7/10/2006   9:00 a.m.   trial in Kerri M. Hill v. Emergency Dental, et al., 8:04CV613,
                        jury/ 5 days

7/10/2006   9:00 a.m.   trial in Yesilada Kredi Ve Yatrim v. Thomas C. Whitmore,
                        8:05CV1, jury/ 7 days

7/10/2006   9:00 a.m.   trial in Otoe County School District No. 111 v. Invensys Bldg.
                        Systems, 8:05CV276

10/16/2006 9:00 a.m.    trial in Northern Natural Gas v. Teksystems Global Applications
                        Outsourcing, 8:05CV316, jury/ 10 days




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      3.     Magistrate Judge Piester will issue his own rescheduling directions for pretrial
proceedings in civil or criminal cases. In general, Judge Piester no longer intends to travel
to Omaha to conduct pretrial proceedings in civil or criminal cases assigned to Judge Kopf.

      4.       My chambers and the Clerk of the Court shall see that copies of this
memorandum and order are provided to all counsel of record and unrepresented parties in the
above entitled criminal and civil cases, to all three magistrate judges, to the United States
Marshals in Omaha and Lincoln, to Mike Heavican, United States Attorney and to David
Stickman, Federal Public Defender.

       December 13, 2005                  BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge




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